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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,


v.                                                  CASE NO. 4:98cr44-RH/WCS
                                                             4:06cv35-RH/WCS
RONALD SYLVESTER BLOOM,

            Defendant.

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                 ORDER DENYING SECOND §2255 MOTION

      This matter is before the court on the magistrate judge’s report and

recommendation (document 310), to which no objections have been filed. Upon

consideration,

      IT IS ORDERED:

      The report and recommendation is ACCEPTED and adopted as the opinion

of the court. Defendant’s “Ex Parte Notice of Booker’s violations and preservation

of issues” (document 309) is deemed a second or successive motion for relief

under 28 U.S.C. §2255 and is DENIED.

      SO ORDERED this 28th day of July, 2006.

                                             s/Robert L. Hinkle
                                             Chief United States District Judge
